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                     IN THE UNITED STATES BANKRUPTCY COURT
                          NORTHERN DISTRICT OF GEORGIA
                                ATLANTA DIVISION

IN RE:                                               )        CASE NO. 13-62588-MGD
                                                     )
TRADE AM INTERNATIONAL, INC.,                        )        CHAPTER 7
                                                     )
        Debtor.                                      )
                                                     )

                           TRUSTEE'S SECOND STATUS REPORT

        S. Gregory Hays (“Trustee”), the Chapter 7 Trustee for the bankruptcy estate of

Trade Am International, Inc. (“Debtor”) files this Trustee’s Second Status Report (the “Report”)

to update the Court on his efforts to prepare the Debtor’s schedules and statement of financial

affairs pursuant to this Court’s Order Designating Person Responsible for Preparing Creditor

List, Schedules, and Statements [Docket No. 58] (the “Designation Order”), entered on October

10, 2013 directing the Trustee to prepare the Debtor’s list of creditors, bankruptcy schedules, and

statement of financial affairs.

        1.     On June 6, 2013 (the “Petition Date”), certain creditors of Debtor commenced the

above-captioned bankruptcy case (the “Case”) by the filing of an involuntary Chapter 7 petition

for relief against the Debtor.

        2.     On August 6, 2013, the Court entered an Order for Relief in the Case

[Docket No. 35] (the “Order”). Among other things, the Order directed the Debtor to comply

with Rules 1007(a)(2), (b)(1), and (c) of the Federal Rules of             Bankruptcy Procedure

(the “Bankruptcy Rules”) by filing the requisite documents.

        3.     On August 7, 2013, the United States Trustee filed a notice of appointment of

Trustee as interim trustee in the Case, and scheduled the Debtor’s Section 341(a) meeting of

creditors (the “341 Meeting”) on September 4, 2013 [Docket No. 37].



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        4.     On August 29, 2013, several parties filed notice of their intention to elect a trustee

at the 341 Meeting [Docket No. 41].

        5.     No one appeared on behalf of the Debtor at the 341 Meeting.

        6.     The United States Trustee was unable to convene the 341 Meeting or conduct the

requested election because the Debtor has not filed a list of creditors, as required by Rule

1007(a)(2) of the Bankruptcy Rules and as ordered by the Court. Accordingly, the Debtor’s

creditors, other than those which were involved in filing the involuntary petition in this Case,

have not received notice of the commencement of the Case or the 341 Meeting, and have not had

an opportunity to file a proof of claim and otherwise qualify to vote for a candidate for a

permanent trustee.

        7.     The administration of this Case has been severely hampered by the Debtor’s

failure to fulfill its duties under the Bankruptcy Code and the Bankruptcy Rules, and the

Debtor’s failure to obey an order of this Court. The Debtor has not had any employees since

2010, and the Debtor’s only current officer is Eddie Palmer.

        8.     On October 10, 2013, the Court entered the Designation Order, which designated

Trustee as the responsible person to file Debtor’s list of creditors, schedules, and statements of

financial affairs. The Designation Order also authorized the Trustee to employ his accountants

to assist in preparing the Debtor’s schedules and statement of financial affairs.

        9.     Prior to the Petition Date, and for approximately three years, the business records

and computers of the Debtor were stored at the residence of the former President of the Debtor,

Mr. Ajay Loiwal (“Loiwal”). Loiwal is currently the principal of an alleged secured creditor of

Debtor, Jupiter IL, LLC (“Jupiter”). Due to the difficultly in scheduling the inspection and




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review of the Debtor’s electronic records, the Trustee moved the accounting servers and some of

the Debtor’s most recent business records from Loiwal’s residence to the Trustee’s offices.

        10.      The Trustee has completed the majority of the work that is necessary to prepare

the Debtor’s schedules and statement of financial affairs, but is still waiting on additional

information from Loiwal.           The Trustee compiled a list of international creditors with the

assistance of Loiwal but still needs to review additional records of the Debtor to obtain the

addresses of several of those creditors from past purchase orders. The severe weather in Atlanta

in January and February 2014, along with Loiwal’s busy travel schedule has further delayed

this process.

        11.      The Trustee has reviewed the transcript from the IRS to identify any possible tax

claims. The Debtor has not filed tax returns since 2007, and the Trustee will need to file both

state and federal tax returns for years 2008, 2009, 2010, 2011, 2012, and 2013 (the “Tax

Returns”).      Filing the Tax Returns will take considerable effort by the Trustee’s Accountants.

However, the Tax Returns must be completed before the Trustee can make any distribution

to Debtor’s creditors.

        12.      After review of the tax transcript and financials of the Debtor, the Trustee

anticipates a tax obligation to the bankruptcy estate of at least $114,620 for Alternative

Minimum Taxable Income (“AMT”) resulting from the receipt of $5.7 million in insurance

proceeds in 2013 (the “Insurance Proceeds”). Contemporaneous with filing this Report, the

Trustee is also filing a motion seeking authorization from this Court 1 to use a portion of the

Insurance Proceeds in order to pay this tax claim in order to minimize and potentially avoid the


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         Jupiter and Deutsche Bank AG Cayman Islands Brach (“Deutsche”) assert that the Insurance Proceeds
constitute cash collateral. See Docket Nos. 33, 61, and 69. The Trustee is currently in the process of investigating
the extent, validity, and priority of Jupiter’s and Deutsche’s asserted liens in the Insurance Proceeds. However, the
Trustee is currently awaiting the receipt of documents from Jupiter and Deutsche.

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accrual of penalties and interest on that tax claim. The preliminary and estimated calculation of

the AMT tax is attached to that motion as an exhibit.

        13.    The Trustee continues to work to verify information to finalize the Debtor’s

schedules and statement of financial affairs, and has sent Rule 2004 document production

requests to several parties in interest as well as letters to former law firms of the Debtor waiving

the attorney client privilege and requesting the turnover of documents.

        14.    The Trustee is still awaiting document production from several parties in interest

and plans to obtain these documents (in some cases through a subpoena) before completing the

Debtor’s schedules and statement of financial affairs. The Trustee anticipates filing the Debtor’s

schedules and statement of financial affairs in April 2014.



                                              Respectfully submitted,

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                                CERTIFICATE OF SERVICE

        I hereby certify that I have this day served the following parties with a true and correct

copy of the foregoing Trustee’s Second Status Report by depositing same in the United States

Mail, postage prepaid, addressed to:


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        This 5th day of March, 2014.


                                                   /s/ Sean C. Kulka
                                                   Sean c. Kulka




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